
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0765-12






RONALD EUGENE WORTHAM, JR. Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE NINTH COURT OF APPEALS


SAN JACINTO COUNTY





	Keller, P.J., filed a concurring opinion.



	Appellant's requested lesser offense was, as a statutory matter, included within the
indictment.  No one disputes that.  The issue here is whether appellant's requested instruction was
based upon conduct that was in fact a separate unit of prosecution from the offense described in the
indictment. (1)  The Court says that "both the indictment and [appellant] allege that [the victim's]
injuries were caused by the same conduct," and, for that reason, they were the same conduct.  But
we do not need to address whether the same conduct was alleged because, for the offense at issue
here, it does not matter.  "Injury to a child" is a result-of-conduct offense. (2)  For that type of offense,
we have held in various contexts that the manner in which the offense was committed was
unimportant so long as the result of the defendant's conduct was alleged to be the same.  

	In Johnson v. State, we addressed a variance in pleading and proof for the offense of
aggravated assault. (3)  The indictment in that case alleged that the defendant caused serious bodily
injury to the victim "by hitting her with his hand or by twisting her arm with his hand," but the proof
at trial showed that the defendant threw the victim against a wall. (4)  Because aggravated assault is a
result-of-conduct offense, we held that a variance with respect to the act that caused the injury cannot
be material, so the evidence was sufficient to support the conviction. (5)  It was the injury that mattered,
not the act that may have produced it. (6)

	In Sanchez v. State, we addressed a jury-charge issue in a murder prosecution. (7)  Four
alternative methods of committing murder were submitted disjunctively in the jury charge. (8)  These
methods included choking the victim with the defendant's hands, placing a stun gun on the victim,
and two allegations involving unknown manner and means. (9)  We found that error in submitting the
unknown-manner-and-means allegations was harmless, in part because the manner and means of
committing murder need not be decided unanimously by the jury. (10)

	In Bufkin v. State, we addressed the trial court's refusal to submit the defense of consent in
an assault prosecution. (11)  The State contended that the defendant injured the victim by biting her on
August 9, but the defendant contended that the biting was consensual and occurred on August 8. (12) 
The State contended, and the trial court apparently agreed, that the alleged biting on different days
were different instances of conduct, and as a result, a defense of consent to biting on August 8 was
no defense to biting on August 9. (13)  We held, however, that both parties' allegations were an attempt
to explain the bite marks on the victim and, thus, were alternate versions of one event. (14)  

	Bufkin predated some of our significant cases regarding the importance of the focus of the
offense for evaluating various types of claims, (15) so the terminology used in that case may not be
entirely consistent with later cases, but the holding is consistent with them.  The assault offense at
issue in Bufkin was a result-of-conduct offense, the result at issue was a biting injury suffered by the
victim, and the State and the defendant were alleging alternative manners in which that result was
inflicted--unwanted biting on August 9 versus consensual biting on August 8.  What matters is that
the parties were offering competing theories to explain the same injury, so the defendant was entitled
to the submission of the defense. (16)

	The question involved in all of these cases (as well as the present case) was the appropriate
unit of prosecution. (17)  The answer to that question--whether the issue is sufficiency of the evidence,
jury unanimity, the submission of defenses, or the submission of a lesser-included offense--is the
same: If the charged offense is a result-of-conduct offense, different (nonstatutory) (18) ways in which
the actor could have caused the same result are not different units of prosecution; different units of
prosecution occur only if the result is different.    

	The remaining question is how to address a situation in which the record supports both a
determination that the two alleged acts of shaking caused the same result and a determination that
they caused different results.  If we conclude that the conduct that the State alleged (severe shaking)
and the conduct that appellant said happened (shaking to revive the victim) caused the same result
(serious bodily injury as alleged in the indictment), then they are the same offense; if we conclude
that they caused different results, then they are different offenses.  What if there is evidence in the
record to support both conclusions?  Then we choose the conclusion that flows from viewing the
evidence in the light most favorable to submitting the lesser-included offense. (19)    This is similar to
how we treat variances in the sufficiency of the evidence context (20) and in the submission of
defenses. (21)  In all three situations, the party that seeks the submission of the issue is the one in whose
favor we view the evidence.

	Because there was evidence that the conduct alleged by appellant, when viewed in the proper
light, caused the same injury as that alleged in the charging instrument, it was not a separate unit of
prosecution for purposes of conducting a lesser-included-offense analysis. 

	I concur in the Court's judgment.

Filed: October 30, 2013

Publish
1.   See Ex parte Denton, 399 S.W.3d 540, 555 (Tex. Crim. App. 2013) (Keller, P.J.,
concurring).  I agree with the Court that this analysis is conducted under the second prong of the
lesser-included offense test rather than the first.  The first prong is concerned only with whether the
statutory elements of the requested lesser offense are included within the charging instrument.  Hall
v. State, 225 S.W.3d 524, 535 (Tex. Crim. App. 2007)
2.   Johnson v. State, 364 S.W.3d 292, 297 n.37 (Tex. Crim. App. 2012) (citing Cook v. State,
884 S.W.2d 485, 489 (Tex. Crim. App. 1994)); Jefferson v. State, 189 S.W.3d 305, 312 (Tex. Crim.
App. 2006).
3.   364 S.W.3d at 293.
4.   Id. 
5.   Id. at 298.
6.   Id. ("The precise act or nature of conduct in this result-oriented offense is inconsequential. 
Had the State pled and proved different injuries, a question might arise as to whether the difference
between what was pled and what was proved was significant enough to be material.").
7.   376 S.W.3d 767, 770 (Tex. Crim. App. 2012).
8.   Id.
9.   Id.
10.   Id. at 773-74, 775.
11.   207 S.W.3d 779, 780-81 (Tex. Crim. App. 2006).
12.   Id. at 781.
13.   Id.
14.   Id. at 783-84.
15.   See Huffman v. State, 267 S.W.3d 902 (Tex. Crim. App. 2008) (explaining that the
common thread in the holdings in various prior cases seemed to be "focus"); Johnson, 364 S.W.3d
at 296.
16.   See Bufkin, 207 S.W.3d at 783 ("a rational factfinder must have reason to believe that
the defendant's scenario competes, rather than coexists with the State's scenario").
17.   See Johnson, 364 S.W.3d at 293, 295-98. 
18.   For sufficiency of the evidence purposes, the State is bound by the statutory allegations
contained in the charging instrument even if alternative statutory allegations could have been (but
were not) alleged.  Johnson, 364 S.W.3d at 294-95.  A variance with respect to statutory allegations
is not at issue in the present case.
19.   Bufkin, 207 S.W.3d at 782 (treated as defensive issue when requested by defendant,
viewed in light most favorable to requested submission); Thomas v. State, 699 S.W.2d 845, 839
(Tex. Crim. App. 1985) ("In making the determination whether the appellant was entitled to an
instruction on the lesser included offense of criminally negligent homicide, the facts must be viewed
in the light most favorable toward his contention.").  See also Goad v. State, 354 S.W.3d 443, 450
(Tex. Crim. App. 2011)  (Keller, P.J., concurring) ("the question to be answered is whether the
necessary inferences are reasonable based upon the combined and cumulative force of all the
evidence when viewed in the light most favorable to the submission of the lesser offense") (internal
quotation marks omitted).  
20.   Johnson, 364 S.W.3d at 293-94 (in the light most favorable to the prosecution).
21.   Bufkin, 207 S.W.3d at 782 (in the light most favorable to the defendant's requested
submission).


